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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No. 12-305(2)(DSD/LIB)

United States of America,

                Plaintiff,

v.                                                              ORDER

Lava Marie Haugen,

                Defendant.



     Surya Saxena, Assistant U.S. Attorney, 300 South Fourth
     Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     John J.E. Markham II, Esq., Markham & Read, One
     Commercial Wharf West, Boston, MA 02110, counsel for
     defendant.



     This matter is before the court upon the motion for release

from custody, or in the alternative, a change of designation

pending appeal by defendant Lava Marie Haugen.             Based on a review

of the file, record, and proceedings herein, and for the following

reasons, the court denies the motion.



                                  BACKGROUND

     The background of this matter is fully set forth in previous

orders, and the court recites only those facts necessary to resolve

the instant motion.     On October 7, 2013, Haugen was convicted of

(1) conspiracy to commit offenses against the United States,

(2) delivery of misbranded drugs received in interstate commerce,
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(3)   doing    acts      resulting     in     drugs   being     misbranded,      and

(4) conspiracy to distribute controlled substance analogues.                     ECF

No. 301.      On August 14, 2014, Haugen was sentenced to a term of

imprisonment of sixty months.            ECF No. 425.         At sentencing, the

court found, based on an agreement between the government and

Haugen, that her unique medical needs justified temporary release

from custody pending designation to a Federal Medical Center.                    See

ECF No. 444, at 193:8-195:18.                She was then designated to FMC

Carlswell in Texas.

      Haugen filed a notice of appeal from her conviction on August

21, 2014.      On September 13, 2014, Haugen moved for continued

release from custody pending her appeal.              In the alternative, she

requested that the court recommend a designation to the Federal

Correctional Institution in Waseca, Minnesota.                  The court denied

the motion for release on September 22, 2014, but granted a two-

week stay of her voluntary surrender date to allow the Bureau of

Prisons to consider the alternative recommendation.                  ECF No. 464.

The   BOP    maintained     its   designation,        and   Haugen    voluntarily

surrendered on October 7, 2014.

      Haugen now moves for a second time for release pending appeal,

arguing     that   the   staff    at   FMC     Carlswell    have     not   rendered

appropriate medical care. ECF No. 486. In the alternative, Haugen

again asks the court to recommend a transfer to FCI Waseca.




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                                  DISCUSSION

I.   Release Pending Appeal

     18    U.S.C.   §§   3143(b)(2)   and      3145(c)   govern       the   court’s

decision to release a defendant subject to mandatory detention

pending appeal.      During appeal, the court generally must detain

persons convicted of an offense under the Controlled Substances Act

for which a maximum term of imprisonment is ten years or more.                   18

U.S.C. §§ 3143(b)(2); 3142(f)(1)(C).1            To warrant release pending

appeal, the court must determine that (1) “exceptional reasons”

clearly show “detention would not be appropriate”; and (2) Haugen

meets     the   conditions   of    release      set   forth      in    18   U.S.C.

§ 3143(b)(1).       18 U.S.C. § 3145(c).         To meet the conditions of

release under § 3143(b)(1), the court must find

     (A) by clear and convincing evidence that the person is
     not likely to flee or pose a danger to the safety of any
     other person or the community ...; and

     (B) that the appeal is not for the purpose of delay and
     raises a substantial question of law or fact likely to
     result in [a reversal, new trial, or reduced sentence].

Circumstances entitling one to release under § 3145(c) must be

“clearly out of the ordinary, uncommon, or rare.” United States v.

Larue, 478 F.3d 924, 926 (8th Cir. 2007).




     1
       Haugen was convicted, in relevant part, on one count of
Conspiracy to Distribute Controlled Substance Analogues, which
carries a maximum term of imprisonment of 20 years. See ECF No.
301; 21 U.S.C. §§ 813, 841(b)(1)(C).

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       Haugen argues that release is warranted because the staff at

FMC Carlswell have not provided appropriate medical care.                             Haugen

has been diagnosed with multiple sclerosis (MS) and fibromyalgia.

She states that, before her incarceration, she was prescribed a

number of medications to control the symptoms associated with those

conditions.       She alleges that upon her surrender, her medications

have been substantially reduced or denied entirely.                             Haugen Aff.

¶¶ 6, 12.     She also claims that her requests for a bottom bunk and

a transfer to a new unit - in order to accommodate her pain - have

been    denied,      that   she    waited       over       three     months      to   see    a

neurologist, and that medical staff have been indifferent toward

her complaints.        Id. ¶¶ 7, 21, 23, 25.                 Haugen eventually saw a

neurologist and was prescribed more effective medication, but she

alleges that she is yet to receive those medications.                            Id. ¶ 28.

       Although the government maintains that Haugen’s conditions are

serious, it disagrees with the characterization of her treatment.

It   notes    that    Haugen      arrived       at    FMC     Carlswell       without    any

prescriptions, stated that she had not been taking any medications

for the previous year, and could not provide a history of what

treatments were effective at controlling her symptoms. Shackelford

Decl. ¶¶ 4, 6.       As a result, the medical staff placed her on lower

dosages of certain medications, with the understanding that the

dosages were to be increased over time.                      Id. ¶ 6.      Moreover, the

medical      staff    has   been     unable          to     determine      an     effective


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prescription regimen for Haugen because she refuses to wait in pill

line.      Id. ¶¶ 10, 15.2    The government also notes that Haugen has

since been placed on a bottom bunk and has been granted work

restrictions to alleviate her pain.              Id. ¶¶ 13-14.

       The court recognizes that Haugen’s medical conditions are

serious and that health considerations may, in certain situations,

warrant release under § 3145(c).          See United States v. Koon, 6 F.3d

561, 564 n.8 (9th Cir. 1993).            Nonetheless, the record shows that

staff at FMC Carlswell have attempted to provide adequate care but

are limited by Haugen’s noncompliance and lack of information as to

her previous treatments.            Under these circumstances, the court

cannot find that exceptional reasons exist such that Haugen’s

continued detention would be inappropriate.                  As a result, Haugen

has not shown that release pending appeal is warranted.3

II.    Alternative Designation to FCI Waseca

       Haugen next requests that the court recommend a designation to

FCI Waseca and that she be temporarily released pending a transfer

to    that   facility.       The   BOP   has     exclusive    authority     over   a

prisoner’s designated place of confinement, but it may consider a



       2
      Although waiting in pill line causes Haugen additional pain,
patients are allowed to report late to the line in order to avoid
a longer wait period. Id. ¶ 15.
       3
       Because the court finds that Haugen’s treatment does not
constitute an “exceptional reason” for release under § 3145(c), it
need not determine whether she meets the conditions of release
pending appeal set forth in § 3143(b)(1).

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recommendation   from    the    sentencing      court    when     transferring     a

prisoner to a separate facility.            See 18 U.S.C. § 3621(b).             The

court, however, is without authority - apart from that granted in

§ 3145(c) - to order the release of a prisoner pending transfer.

As stated, Haugen has not shown that her release is justified under

§ 3145(c), and her transfer to FCI Waseca would not change the

court’s conclusion on that point. Moreover, the parties agree that

Haugen requires significant medical care, a factor that the BOP

considered when declining the court’s previous recommendation as to

FCI Waseca.    As a result, a recommendation for a transfer is not

warranted at this time.



                                  CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion   for   release   from     custody      pending   appeal,      or   in    the

alternative, a change of designation [ECF No. 486] is denied.


Dated: May 4, 2015


                                            s/David S. Doty
                                            David S. Doty, Judge
                                            United States District Court




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